        Case 22-13186-elf                  Doc 14 Filed 12/23/22 Entered 12/24/22 00:32:02                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 22-13186-elf
Eric Lamback                                                                                                           Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 21, 2022                                               Form ID: 309I                                                             Total Noticed: 50
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 23, 2022:
Recip ID                   Recipient Name and Address
db                     +   Eric Lamback, 751 Germantown Pike, Lafayette Hill, PA 19444-1620
14738823               +   ABINGTON HOSPITAL, P.O. BOX 536146, PITTSBURGH, PA 15253-5903
14738824               +   ABINGTON MEMORIAL HOSPITAL, 1200 OLD YORK ROAD, ABINGTON, PA 19001-3788
14738826               +   AMERICAN EQUITY GROUP, 961 EAST MAIN STREET, SPARTANSBURG, SC 29302-2185
14738827               +   AMERICAN RECOVERY CORPORATION, 34505 W. 12 MILE ROAD SUITE 33, FARMINGTON HILLS, MI 48331-3258
14738830               +   AQUA AMERICA, 762 LANCASTER AVENUE, BRYN MAWR, PA 19010-3402
14738831               +   ASHLEIGH LEVY MARIN ESQUIRE, 200 SHEFFIELD STREET, SUITE 101, MOUNTAINSIDE, NJ 07092-2315
14738833               +   AUTO EQUITY LOANS OF DE, 1241 CHURCHMANS ROAD, NEWARK, DE 19713-2149
14738835               +   BARDEN THORWARTH AND DAUGHTRIDGE, P.O. BOX 3190, DUBLIN , OH 43016-0089
14738836               +   BARDEN, THORWARTH, DAUGHTRIDGE, LTD, 8835 GERMANTOWN AVENUE, PHILADELPHIA, PA 19118-2718
14738839               +   CEP AMERICA, 2100 POWELL STREET SUITE 400, EMERYVILLE, CA 94608-1872
14738840              #+   CHARLES G. WOHLRAB, ESQUIRE, 1108 LUCAS LANE, VOORHEES, NJ 08043-2559
14738841               +   CONVERGENT OUTSOURCING, P.O. BOX 15618, WILMINGTON, DE 19850-5618
14738864                   H.A. Berkheimer Tax Administrator, Bankruptcy Notices, 50 North 7th Street, Bangor, PA 18013-1798
14738860               +   Innovis Data Solutions, 250 E. Broad St., Columbus, OH 43215-3708
14738861               +   Innovis Data Solutions, Inc., 221 Bolivar Street, Jefferson City MO 65101-1572
14738846               +   JEFFERSON HEALTH, 833 CHESTNUT ST. SUITE 115, PHILADELPHIA, PA 19107-4401
14738865               +   Montgomery County Tax Claim Bureau, P.O. Box 190, Norritown PA 19404-0190
14738848               +   NEW PENN FINANCIAL LLC, 1100 VIRGINIA DRIVE, SUITE 125, FORT WASHINGTON, PA 19034-3235
14738853               +   TOWER HEALTH, P.O. BOX 16051, READING, PA 19612-6051
14738862               +   TransUnion Corporation, 1510 Chester Pike, Crum Lynne, PA 19022-1471
14738854               +   U.S. BANK N.A. TRUSTEE, P.O. BOX 5229, CINCINATTI, OH 45201-5229
14738856               +   WEED MAN, 3847 OAK ORCHARD ROAD, ALBION, NY 14411-9536

TOTAL: 23

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: mwglaw@msn.com
                                                                                        Dec 22 2022 00:31:00      MICHAEL W. GALLAGHER, M.W. Gallagher
                                                                                                                  Esquire, 600 West Germantown Pike, Suite 400,
                                                                                                                  Plymouth Meeting, PA 19462
tr                     + Email/Text: bncnotice@ph13trustee.com
                                                                                        Dec 22 2022 00:31:00      KENNETH E. WEST, Office of the Chapter 13
                                                                                                                  Standing Truste, 1234 Market Street - Suite 1813,
                                                                                                                  Philadelphia, PA 19107-3704
smg                        Email/Text: megan.harper@phila.gov
                                                                                        Dec 22 2022 00:31:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                        EDI: PENNDEPTREV
                                                                                        Dec 22 2022 05:29:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                        Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Dec 22 2022 00:31:00      Pennsylvania Department of Revenue, Bankruptcy
      Case 22-13186-elf           Doc 14 Filed 12/23/22 Entered 12/24/22 00:32:02                                  Desc Imaged
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District/off: 0313-2                                        User: admin                                                      Page 2 of 3
Date Rcvd: Dec 21, 2022                                     Form ID: 309I                                                  Total Noticed: 50
                                                                                               Division, P.O. Box 280946, Harrisburg, PA
                                                                                               17128-0946
ust             + Email/Text: ustpregion03.ph.ecf@usdoj.gov
                                                                        Dec 22 2022 00:31:00   United States Trustee, Office of United States
                                                                                               Trustee, Robert N.C. Nix Federal Building, 900
                                                                                               Market Street, Suite 320, Philadelphia, PA
                                                                                               19107-4202
14738825        + Email/Text: bankruptcy@acacceptance.com
                                                                        Dec 22 2022 00:31:00   AMERICAN CREDIT ACCEPTANCE, 961
                                                                                               EAST MAIN STREET, SPARTANSBURG, SC
                                                                                               29302-2185
14738828        + Email/Text: bk@amosfinancial.com
                                                                        Dec 22 2022 00:31:00   AMOS FINANCIAL LLC, 3330 SKOKIE
                                                                                               VALLEY ROAD, SUITE 301, HIGHLAND
                                                                                               PARK , IL 60035-1044
14738829         ^ MEBN
                                                                        Dec 22 2022 00:27:18   APEX ASSET MANAGEMENT LLC, 2501
                                                                                               OREGON PIKE, LANCASTER, PA 17601-4890
14738832        + Email/Text: bknotices@acsrecovery.com
                                                                        Dec 22 2022 00:31:00   ASSOCIATED CREDIT SERVICES, P.O. BOX
                                                                                               1201, TEWKSBURY, MA 01876-0901
14738834        + Email/Text: bk@avant.com
                                                                        Dec 22 2022 00:31:00   AVANT/WEB BANK, 222 NORTH LASALLE
                                                                                               STREET SUITE 1600, CHICAGO, IL
                                                                                               60601-1112
14738837        + EDI: CAPONEAUTO.COM
                                                                        Dec 22 2022 05:29:00   CAPITAL ONE AUTO FINANCE, 7933
                                                                                               PRESTON ROAD, PLANO, TX 75024-2302
14738838        + EDI: CAPITALONE.COM
                                                                        Dec 22 2022 05:29:00   CAPITAL ONE BANKRUPTCY
                                                                                               DEPARTMENT, P.O. BOX 30285, SALT LAKE
                                                                                               CITY, UT 84130-0285
14738842        + EDI: CCS.COM
                                                                        Dec 22 2022 05:29:00   CREDIT COLLECTION SERVICES, 725
                                                                                               CANTON STREET, NORWOOD, MA
                                                                                               02062-2679
14742647        + EDI: AIS.COM
                                                                        Dec 22 2022 05:29:00   Capital One N.A., 4515 N Santa Fe Ave,
                                                                                               Oklahoma City, OK 73118-7901
14738857         ^ MEBN
                                                                        Dec 22 2022 00:27:24   Equifax Credit Information Services, Inc, P.O.
                                                                                               Box 740256, Atlanta, GA 30374-0256
14738858         ^ MEBN
                                                                        Dec 22 2022 00:27:17   Experian, P.O. Box 9701, Allen, TX 75013-9701
14738859         ^ MEBN
                                                                        Dec 22 2022 00:27:20   Experian Information Systems, Attn: Dispute
                                                                                               Department, P.O. Box 2002, Allen, TX
                                                                                               75013-2002
14738844           EDI: AMINFOFP.COM
                                                                        Dec 22 2022 05:29:00   FIRST PREMIER BANK, P.O. BOX 5524,
                                                                                               SIOUX FALLS, SD 57117-5524
14738843        + EDI: AMINFOFP.COM
                                                                        Dec 22 2022 05:29:00   FIRST PREMIER BANK, 3820 NORTH LOUISE
                                                                                               AVENUE, SIOUX FALLS, SD 57107-0145
14738845           EDI: IRS.COM
                                                                        Dec 22 2022 05:29:00   Internal Revenue Service, Centralized Insolvency
                                                                                               Operation, P.O. Box 7346, Philadelphia, PA
                                                                                               19101-7346
14738847        + Email/Text: bankruptcy@ncaks.com
                                                                        Dec 22 2022 00:31:00   NATIONAL CREDIT ADJUSTORS, P.O. BOX
                                                                                               3023, HUTCHINSON, KS 67504-3023
14738849           EDI: PENNDEPTREV
                                                                        Dec 22 2022 05:29:00   PA Department Of Revenue, Attn: Bankruptcy
                                                                                               Division, P.O. Box 280946, Harrisburg, PA
                                                                                               17128-0946
14738849           Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                        Dec 22 2022 00:31:00   PA Department Of Revenue, Attn: Bankruptcy
                                                                                               Division, P.O. Box 280946, Harrisburg, PA
                                                                                               17128-0946
14738850        + Email/Text: customerservice@rfgionline.com
                                                                        Dec 22 2022 00:31:00   ROZLIN FINANCIAL GROUP, INC., 1628
                                                                                               DEKALB AVENUE, SYCAMORE, IL
                                                                                               60178-2706
14738851        + Email/Text: DeftBkr@santander.us
                                                                        Dec 22 2022 00:31:00   SANTANDER BANK N.A., 450 PENN STREET
                                                                                               MC:PA 450-FB1, READING, PA 19602-1011
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Date Rcvd: Dec 21, 2022                                              Form ID: 309I                                                            Total Noticed: 50
14738852                  Email/Text: bkteam@selenefinance.com
                                                                                       Dec 22 2022 00:31:00      SELENE FINANCE LP, P.O. BOX 8619,
                                                                                                                 PHILADELPHIA, PA 19101-8619
14738863                ^ MEBN
                                                                                       Dec 22 2022 00:27:17      TransUnion Consumer Solutions, P.O. Box 2000,
                                                                                                                 Chester PA 19016-2000
14738855                + Email/Text: bankruptcytn@wakeassoc.com
                                                                                       Dec 22 2022 00:31:00      WAKEFIELD & ASSOCIATES, P.O. BOX
                                                                                                                 51272, KNOXVILLE, TX 37950-1272

TOTAL: 29


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 23, 2022                                          Signature:            /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 20, 2022 at the address(es) listed
below:
Name                              Email Address
CHARLES GRIFFIN WOHLRAB
                                  on behalf of Creditor U.S. Bank Trust National Association not in its individual capacity but solely as owner trustee for RCF 2
                                  Acquisition Trust c/o U.S. Bank Trust National Association cwohlrab@raslg.com

KENNETH E. WEST
                                  ecfemails@ph13trustee.com philaecf@gmail.com

MICHAEL W. GALLAGHER
                                  on behalf of Debtor Eric Lamback mwglaw@msn.com mwglaw1@verizon.net

United States Trustee
                                  USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 4
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                                                         Certificate of Notice Page 4 of 5
Information to identify the case:

                       Eric Lamback                                                            Social Security number or ITIN:     xxx−xx−1455
Debtor 1:
                                                                                               EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                      Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                 EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Eastern District of Pennsylvania                              Date case filed for chapter:            13      11/29/22

Case number:          22−13186−elf

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                              10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Eric Lamback

2. All other names used in the
   last 8 years
                                                   751 Germantown Pike
3. Address                                         Lafayette Hill, PA 19444
                                                   MICHAEL W. GALLAGHER                                                  Contact phone 484−679−1488
                                                   M.W. Gallagher Esquire
   Debtor's attorney
4. Name                                            600 West Germantown Pike                                              Email: mwglaw@msn.com
        and address                                Suite 400
                                                   Plymouth Meeting, PA 19462

5. Bankruptcy trustee                              KENNETH E. WEST                                                       Contact phone 215−627−1377
     Name and address                              Office of the Chapter 13 Standing Trustee
                                                   1234 Market Street − Suite 1813                                       Email: ecfemails@ph13trustee.com
                                                   Philadelphia, PA 19107

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed                                                                                 Philadelphia Office −− 9:00 A.M. to 4:00 P.M;
     at this address.                              900 Market Street                                                     Reading Office −− 9:00 A.M. to 4:00 P.M.
     You may inspect all records filed in          Suite 400
     this case at this office or online at         Philadelphia, PA 19107                                                Contact phone (215)408−2800
      https://pacer.uscourts.gov.
                                                                                                                         Date: 12/21/22

                                                                                                                                 For more information, see page 2




Official Form 309I                                         Notice of Chapter 13 Bankruptcy Case                                                      page 1
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Debtor Eric Lamback                                                                                                                          Case number 22−13186−elf

7. Meeting of creditors                                                                                                 Location:
   Debtors must attend the meeting to     February 8, 2023 at 10:00 AM                                                  The Mtg of Creditors will be conducted,
   be questioned under oath. In a joint                                                                                 via telephonic conference.All interested,
   case, both spouses must attend.                                                                                      parties shall contact the Trustee, for
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If                 connection details
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                      Filing deadline: 4/9/23
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                            Filing deadline: 2/7/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                             Filing deadline: 5/30/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                              Filing deadline:      30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                   conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                    meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan.This plan proposes payment to the trustee of $4133.00 per month for 60 months. The plan is enclosed.
                                          The hearing on confirmation will be held on:
                                          3/14/23 at 10:00 AM , Location: Courtroom #1, 900 Market Street, Philadelphia, PA 19107
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                                          page 2
